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                                                                 EXHIBIT I


                                                                       Page 1

 1                       IN THE UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF OHIO
 3                                  EASTERN DIVISION
 4        ________________________________
 5        DONALD J. HEINEY,
 6                       Plaintiff,
 7                  v.                                          Case No.
 8        CORRECTIONAL SOLUTIONS GROUP,                         4:22-cv-02232
 9        LLC; MELANIE AGNONE; JOSH DANKO;
10        CANDY HIVELY; TYLER PRVONOZAC;
11        DAVID STANFIELD; LIEUTENANT
12        DELP; SETH FRAISER; TOM MACKIE;
13        and GEORGE WILSON,
14                       Defendants.
15        ________________________________
16                          DEPOSITION OF TINA M. HEINEY
17        DATE:               Friday, December 6, 2024
18        TIME:               12:04 p.m.
19        LOCATION:           Reminger Co., LPA
20                            950 Windham Court, Suite 200
21                            Youngstown, OH 44512
22        REPORTED BY:        Benjamin Fantauzzo
23        JOB NO.:            7016749
24
25

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                                                     Page 138                                                         Page 140
 1        Q Now, speaking more in the short term, more           1   see if you can -- are you picking me up?
 2   recent future, near future, have you guys discussed         2              THE REPORTER: Yes.
 3   having any aids come into the house to help?                3              MR. HOOVER: All right. If you can't,
 4        A We just recently started talking about it.           4   just let me know.
 5        Q Do you --                                            5                  EXAMINATION
 6        A But, oh, money. I'm sorry.                           6   BY MR. HOOVER:
 7        Q Have you looked into whether his health              7       Q Is it okay if I call you Tina?
 8   insurance would cover any type of in-home aid?              8       A Yes, please.
 9        A No, I never thought of the health insurance.         9       Q Hi, Tina. We met earlier. My name's Zach.
10   But they're really limited. They -- they only gave         10   I represent Dr. Wilson.
11   him -- even like, physical therapy and stuff, they         11           My first question is, outside of any
12   only gave you like, so many. You know, you can't just      12   conversations you've had with your attorneys, do you
13   keep going, 'cause you think he needs it or something.     13   know who Dr. Wilson is?
14   You just can't.                                            14       A No.
15        Q Why has it been a recent discussion to get          15       Q In all your conversations with the COs and
16   an in-home aide?                                           16   the nurses at Columbiana County Jail, did you ever
17        A Like I said, just every -- it -- it all             17   talk about a doctor during those discussions?
18   happening kind of at one time; you know? Like him,         18       A No. 'Cause I didn't know there was one.
19   but then now, like now my mom and my dad, and I -- I       19   I -- I asked him like, can he get to a hospital? But
20   mean, I obviously have to take care of him, and they       20   I didn't specifically ask for a doctor.
21   help, but then I feel bad because, you know, maybe         21       Q Okay. So no discussions about a doctor with
22   they don't feel good today or something. And it --         22   any conversations you had with COs or the warden or
23   it's -- it's a lot on them too. You know, that's --        23   the nurses at Columbiana?
24   that's all.                                                24       A I don't believe so, no.
25        Q The Social Security disability money that           25       Q Okay. I think you said, and I don't know if
                                                     Page 139                                                         Page 141
 1   Gaven gets, where is it deposited?                          1   I misheard. I just want to make sure, when you were
 2       A Into his account.                                     2   talking about the current residence at Nevada Street,
 3       Q And who has access to that account?                   3   did you say there's not a yard to go outside for
 4       A My dad.                                               4   Gaven?
 5       Q At one point you had had a, I think a                 5       A Very little. It's like the side of that,
 6   medical and financial power of attorney?                    6   like this side and that of this room; do you know what
 7       A Yes, ma'am.                                           7   I mean? Its like a real little yard across the side.
 8       Q Do you still have that over Gaven?                    8   It's been sitting for the dogs.
 9       A I don't -- I -- I don't know. I don't --              9       Q Okay. So there's some green space yard
10   don't that trump it?                                       10   area?
11       Q I would think, but I actually don't know.            11       A Yeah.
12       A I don't either.                                      12       Q Okay. I am going to jump around a little
13       Q That's okay.                                         13   bit. I'm going to try to stay chronological as much
14       A Yeah. I don't know.                                  14   as I can, but going second is sort of just going to
15       Q Would it be fair to say then that you don't          15   try to catch up on some things. So if at any point in
16   use it?                                                    16   time you don't understand where I'm at in the
17       A Yeah.                                                17   timeline, please just let me know; okay?
18       Q Your dad would do any banking needs for              18       A Sure. Yes.
19   Gaven?                                                     19       Q So let's talk about Gaven after he stopped
20       A Banking, yes.                                        20   working as a welder back in 2016; you with me?
21              MS. DINEHART: All right. I am going             21       A Yes.
22   to turn it over to these gentlemen to ask all the          22       Q Did Gaven ever apply for any jobs anywhere
23   questions I forgot.                                        23   after he stopped working as a welder?
24              THE WITNESS: It's okay.                         24       A He did. I can't remember the name of the
25              MR. HOOVER: I'm just going to talk to           25   place, but it was one of them, I think it was like the

                                                                                                    36 (Pages 138 - 141)
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 1   BY MR. JAMISON:                                       1             MR. AMATO: No, not at this time.
 2       Q With your most truthful answer?                 2             THE REPORTER: Thank you.
 3             MR. THOMPSON: Sorry. I didn't mean          3             We are off the record at 5:02.
 4   to.                                                   4             (Signature reserved.)
 5   BY MR. JAMISON:                                       5             (Whereupon, at 5:02 p.m., the
 6       Q Have we all given you a fair opportunity to     6             proceeding was concluded.)
 7   answer our questions today?                           7
 8             MR. THOMPSON: Objection.                    8
 9       A Yeah.                                           9
10       Q Okay. As a nurse, did you have any             10
11   specialized training at all or certifications?       11
12             MR. THOMPSON: No? You got to say           12
13   something.                                           13
14             THE WITNESS: No. Sorry.                    14
15   BY MR. JAMISON:                                      15
16       Q You worked in -- I know it's been a long       16
17   day. You always worked in med-surg?                  17
18       A Correct.                                       18
19       Q Did you ever work in the emergency room?       19
20       A No.                                            20
21       Q Okay. All right. And you didn't have any       21
22   special training on addiction or withdrawal or       22
23   anything like that?                                  23
24       A I don't think so.                              24
25             MR. THOMPSON: Objection. Sorry.            25
                                               Page 239                                                        Page 241
 1          MR. JAMISON: Nothing further. Thank            1           CERTIFICATE OF DEPOSITION OFFICER
 2   you.                                                  2          I, BENJAMIN FANTAUZZO, the officer before
 3             THE WITNESS: Thank you.                     3   whom the foregoing proceedings were taken, do hereby
 4             MS. DINEHART: Nothing further.              4   certify that any witness(es) in the foregoing
 5             THE REPORTER: All righty.                   5   proceedings, prior to testifying, were duly sworn;
 6             Ms. Dinehart, would you like to order       6   that the proceedings were recorded by me and
 7   the transcript?                                       7   thereafter reduced to typewriting by a qualified
 8             MS. DINEHART: Not at this time.             8   transcriptionist; that said digital audio recording of
 9             Mr. Jamison, would you like to order        9   said proceedings are a true and accurate record to the
                                                          10   best of my knowledge, skills, and ability; that I am
10   the transcript?
                                                          11   neither counsel for, related to, nor employed by any
11             MR. JAMISON: Yeah, let's -- we'll
                                                          12   of the parties to the action in which this was taken;
12   order it.
                                                          13   and, further, that I am not a relative or employee of
13             THE REPORTER: Okay.
                                                          14   any counsel or attorney employed by the parties
14             MR. JAMISON: Let's do a E-tran,
                                                          15   hereto, nor financially or otherwise interested in the
15   please.
                                                          16   outcome of this action.
16             THE REPORTER: Mr. Hoover, would you                                <%33367,Signature%>
17   like to order the transcript?                        17                             BENJAMIN FANTAUZZO
18             MR. HOOVER: I will take a copy.            18                      Notary Public in and for the
19             THE REPORTER: Mr. Thompson, would you      19                                State of Ohio
20   like to order the transcript?                        20
21             MR. THOMPSON: Not at this time.            21   [X] Review of the transcript was requested.
22   Witness will read.                                   22
23             THE REPORTER: All right. And then          23
24   last, Mr. Amato, would you like to order the         24
25   transcript?                                          25

                                                                                             61 (Pages 238 - 241)
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                                                              Page 242                                                                 Page 244
 1              CERTIFICATE OF TRANSCRIBER                  1 Donald J. Heiney v. Correctional Solutions Group, LLC, Et Al.
 2           I, HEATHER VISSIA, do hereby certify that 2 Tina M. Heiney (#7016749)
 3    this transcript was prepared from the digital audio   3           ERRATA SHEET
 4    recording of the foregoing proceeding, that said      4 PAGE_____ LINE_____ CHANGE________________________
 5    transcript is a true and accurate record of the       5 __________________________________________________
 6    proceedings to the best of my knowledge, skills, and 6 REASON____________________________________________
 7    ability; that I am neither counsel for, related to,   7 PAGE_____ LINE_____ CHANGE________________________
 8    nor employed by any of the parties to the action in   8 __________________________________________________
 9    which this was taken; and, further, that I am not a   9 REASON____________________________________________
10    relative or employee of any counsel or attorney
                                                           10 PAGE_____ LINE_____ CHANGE________________________
11    employed by the parties hereto, nor financially or
                                                           11 __________________________________________________
12    otherwise interested in the outcome of this action.
                                                                         12 REASON____________________________________________
13
                                                                         13 PAGE_____ LINE_____ CHANGE________________________
14
                                                                         14 __________________________________________________
      <%30411,Signature%>
                                                                         15 REASON____________________________________________
15                                      HEATHER VISSIA
16                                                                       16 PAGE_____ LINE_____ CHANGE________________________
17                                                                       17 __________________________________________________
18                                                                       18 REASON____________________________________________
19                                                                       19 PAGE_____ LINE_____ CHANGE________________________
20                                                                       20 __________________________________________________
21                                                                       21 REASON____________________________________________
22                                                                       22
23                                                                       23 ________________________________ _______________
24                                                                       24 Tina M. Heiney                    Date
25                                                                       25

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 1 ANDREW THOMPSON, ESQUIRE                                               1 Donald J. Heiney v. Correctional Solutions Group, LLC, Et Al.
 2 athompson@shaperoroloff.com                                            2 Tina M. Heiney (#7016749)
 3                 December 26, 2024                                      3           ACKNOWLEDGEMENT OF DEPONENT
 4 RE: Donald J. Heiney v. Correctional Solutions Group, LLC,             4    I, Tina M. Heiney, do hereby declare that I
 5     12/6/2024, Tina M. Heiney (#7016749)                               5 have read the foregoing transcript, I have made any
 6     The above-referenced transcript is available for                   6 corrections, additions, or changes I deemed necessary as
 7 review.                                                                7 noted above to be appended hereto, and that the same is
 8     Within the applicable timeframe, the witness should                8 a true, correct and complete transcript of the testimony
 9 read the testimony to verify its accuracy. If there are                9 given by me.
10 any changes, the witness should note those with the                   10
11 reason, on the attached Errata Sheet.                                 11 ______________________________           ________________
12     The witness should sign the Acknowledgment of                     12 Tina M. Heiney                  Date
13 Deponent and Errata and return to the deposing attorney.              13 *If notary is required
14 Copies should be sent to all counsel, and to Veritext at              14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
15 erratas-cs@veritext.com                                               15             ______ DAY OF ________________, 20___.
16   Return completed errata within 30 days from                         16
17 receipt of testimony.                                                 17
18   If the witness fails to do so within the time                       18             __________________________
19 allotted, the transcript may be used as if signed.                    19             NOTARY PUBLIC
20                                                                       20
21                                                                       21
22           Yours,                                                      22
23           Veritext Legal Solutions                                    23
24                                                                       24
25                                                                       25

                                                                                                                   62 (Pages 242 - 245)
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